
258 P.3d 536 (2011)
243 Or. App. 240
In the Matter of J.S., Alleged to be a Mentally III Person.
STATE of Oregon, Respondent,
v.
J.S., Appellant.
M1052; A146701.
Court of Appeals of Oregon.
Submitted April 1, 2011.
Decided May 25, 2011.
Tom Coleman filed the brief for appellant.
John R. Kroger, Attorney General, Mary H. Williams, Solicitor General, and Carolyn Alexander, Senior Assistant Attorney General, filed the brief for respondent.
Before SCHUMAN, Presiding Judge, and WOLLHEIM, Judge, and NAKAMOTO, Judge.
PER CURIAM.
Appellant seeks reversal of an order committing him as a mentally ill person for a period not to exceed 180 days. ORS 426.130. He contends that the trial court erred in concluding that, as a result of a mental disorder, he is dangerous to himself, dangerous to others, and unable to provide for his basic needs. See ORS 426.005(1). The state concedes that the record does not contain legally sufficient evidence to support the involuntary commitment and that the order should be reversed. We agree, accept the state's concession, and reverse.
Reversed.
